                    IN THE UNITED STATES DISTRICT COURT

                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


BRIAN DAVID HILL,                           :
       Petitioner,                          :
                                            :
                          v.                :           1:13CR435-1
                                            :           1:17CV1036
UNITED STATES OF AMERICA,                   :
       Respondent.                          :

GOVERNMENT’S MOTION FOR LEAVE FOR TIME TO FILE RESPONSE

        NOW COMES the United States of America, by and Matthew G.T.

Martin, United States Attorney for the Middle District of North Carolina, and

respectfully requests leave of Court to file a response to Petitioner’s “Motion

and Brief for Leave to File Additional Evidence” (ECF Docket Entries (“DE”)

#144, #145) in the above-captioned matter. In support of this motion, the

government cites the following:

        1.    Under the Rule 5(e) of the Rules Governing Section 2254 and

Section 2255 Proceedings (Pub. L. No. 94-426), “The petitioner may submit a

reply to the respondent's answer or other pleading within a time fixed by the

judge.”

        2.    Petitioner was advised in a Roseboro letter 1 (DE #142) sent from

the Clerk of Court dated January 10, 2018, that he “the right to file a 20-page



1   see Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975).




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response in opposition to the respondent's motion…within 21 days from the

date of service of the respondent's motion upon [Petitioner].” (DE #142).

      3.    Petitioner filed in excess of 100 pages on January 26, 2018, in

response to the government’s motion to dismiss. This filing, while exceeding

the 20-page limit stated in the Roseboro letter, was timely filed according to

the limits set forth in DE #142.

      4.    On March 7, 2018, Petitioner filed another 130 pages captioned as

“Petitioner’s Motion and Brief for Leave to File Additional Evidence.” (DE

#144, #145). The government wishes to address this filing due to its

accusations of the undersigned engaging in misconduct, and due to its

untimely nature.

      WHEREFORE, the United States respectfully requests that the Court

grant leave for the government to respond to Petitioner’s motion (DE #144,




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#145) within two weeks, by Friday, March 23, 2018.

     This the 9th day of March, 2018.


                             Respectfully submitted,

                             MATTHEW G.T. MARTIN
                             UNITED STATES ATTORNEY


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                  IN THE UNITED STATES DISTRICT COURT

             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


BRIAN DAVID HILL,                         :
       Petitioner,                        :
                                          :
                        v.                :          1:12CR305-1
                                          :          1:16CV634
UNITED STATES OF AMERICA,                 :
       Respondent.                        :

                             CERTIFICATE OF SERVICE

      I hereby certify that on March 9, 2018, the foregoing was electronically filed
with the Clerk of the Court using the CM/ECF system, and I hereby certify that the
document was mailed to the following non-CM/ECF participant:

Mr. BRIAN DAVID HILL
310 Forest St., Apt.2
Martinsville, VA 24112


                                   Respectfully submitted,

                                   MATTHEW G.T. MARTIN
                                   UNITED STATES ATTORNEY


                                   /S/ ANAND P. RAMASWAMY
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